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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

  UNITED STATES OF AMERICA,                     Case No. CR-20-49-GF-BMM

                  Plaintiff,
                                                           ORDER
  vs.

  CHRISTOPHER MICHAEL
  STEBBINS,
                 Defendant.


        Defendant Christopher Stebbins has filed a Motion to Vacate the Hearing on

Defendant’s Motion for Review of Detention Order (Doc. Nos. 25, 26) currently

set for October 20, 2020. The Defendant has also provided notice that he

withdraws his Motion for Review of Detention Order. The Government has no

objections to the Motion. Therefore, IT IS ORDERED that the Hearing currently

set for October 20, 2020, at 4:00 p.m. is VACATED.

        DATED this 19th day of October, 2020.




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